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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

PISC INTERNATIONAL, INC.,                         }
                       Plaintiff(s)               }
                                                  }
v.                                                }               CIVIL ACTION NO. H-05-0626
                                                  }
WOOLSLAYER COMPANIES, INC.,                       }
                       Defendant(s)               }

                                  MEMORANDUM OPINION

       At the close of Plaintiff PISC International Inc.’s (“PISC”) evidence in the trial of this

matter, the court granted Defendant Woolslayer Companies Inc.’s (“WCI”) motion for judgment

as a matter of law. The following is a further explanation of the court’s reasons.

       This case concerns the sale of an oil derrick by WCI to Varco International Inc. (“Varco”).

WCI’s sale to Varco occurred on February 27, 2004. PISC claims it is owed a commission on the

sale because of an agreement it negotiated with WCI in late October 2003.

       PISC claims WCI offered to pay a commission in an October 31, 2003, letter addressed to

PISC’s president, Mohamed Hellail. The letter states, in pertinent part, as follows:

            Attached is our proposal 3251-K-03, Opt. 1, Rev. 1 covering a new
            derrick and usual accessories as requested.

            In the event of an order, WCI will allow EMDAD & P.I.S.C. International
            a 15% reseller’s commission.

            Delivery for Items #1 through 25 will be 18 to 21 weeks after receipt of
            down payment with purchase order.

            We have quoted several optional items which you may require for your
            new build Jack-up rig project. Featured optional items include the WCI
            Automatic Pipe Racking System, and that WCI BOP handling system.

Letter from WCI to PISC (Doc. 18, Ex. 5). The following language appears in the proposal that

accompanies the letter: “This proposal is subject to withdrawal without notice prior to receipt by

Seller of written acceptance and in any event expires at the end of thirty days.” Proposal at 6 (Doc.

18, Ex. 5). A second identical letter and proposal were sent December 12, 2003 (Doc. 18, Ex. 5).
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I. Law
         Judgment as a matter of law is appropriate “[i]f during a trial by jury a party has been fully

heard on an issue and there is no legally sufficient evidentiary basis for a reasonable jury to find

for that party on that issue.” Fed. R. Civ. P. 50(a). In other words, a motion for directed verdict

should be granted “when there is not a sufficient conflict in substantial evidence to create a jury

question.” Travis v. Bd. Of Regents of the Univ. of Tex. Sys., 122 F.3d 259, 263 (5th Cir. 1997)

(citing Foreman v. Babcock & Wilcox Co., 117 F.3d 800, 804 (5th Cir. 1997). A sufficient conflict

exists when there is evidence “of such quality and weight that reasonable and fair minded men in

the exercise of impartial judgment might reach different conclusions.” Boeing Co. v. Shipman, 411

F.2d 365, 374 (5th Cir. 1969).

II. Application of Law to the Facts

         PISC has introduced no evidence it accepted the offer contained in the October 31st or

December 12th cover letters. Offer and acceptance are an essential part of a breach of contract

action. Hallmark v. Hand, 885 S.W.2d 471, 476 (Tex. App. – El Paso 1994). When an offer is

limited by its terms to a certain time period it cannot be accepted after that period ends. Paul

Mueller Co. v. Alcon Laboratories, Inc., 993 S.W.2d 851, 885 (Tex. App. – Fort Worth 1999).

Here, PISC was required to deliver its written acceptance to WCI within 30 days. PISC knew this

fact, as is evidenced by its request that WCI renew its offer on December 12, 2003. Nevertheless,
PISC did not accept WCI’s offer in the time or manner required.

         PISC claims WCI ratified an agreement to pay PISC a commission in a letter recieved in

March 2004. See Letter from John M. Woolslayer to Mohamed Hellail (Joint Ex. 17). This

argument fails as a matter of law. “[R]atification is a doctrine of agency law, and allows a

principal to be bound by an agent's unauthorized contract in circumstances where the principal

becomes aware of the contract and retains benefits under it.” Willis v. Donnelly, 199 S.W.3d 262,

273 (Tex. 2006). Ratification is inapplicable to the facts of this case because PISC has not show




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the existence of a contract, authorized or otherwise, between it and WCI. Moreover, the letter

denies that PISC was due a commission, stating simply that PISC did not order a derrick.

       The court also granted WCI’s motion for judgment as a matter of law on PISC’s claims for

unjust enrichment and fraud. To prevail on these claims, PISC was required to show that WCI

acted with scienter. IKON Office Solutions, Inc. v. Eifert, 125 S.W.3d 113, 124 (Tex. App. 2003)

(fraud); Heldenfels Bros., Inc. v. Corpus Christi, 832 S.W.2d 39, 41 (Tex. 1992) (unjust

enrichment). PISC introduced no evidence, besides WCI’s failure to pay a commission, to support

this finding. See IKON Office Solutions,125 S.W.3d at 124 (“Failure to perform a contract,

standing alone, is no evidence of the promisor's intent not to perform when the contract was made,

but a circumstance to be considered with other facts to establish intent.”).

III. Conclusion

       For the aforementioned reasons, judgment as a matter of law is appropriate on Plaintiff’s

claims. Final judgment in favor of WCI and against PISC will issue by separate order.



       SO ORDERED at Houston, Texas, this 29th day of November, 2006.




                                                 ________________________________
                                                        MELINDA HARMON
                                                  UNITED STATES DISTRICT JUDGE




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